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January 11, 2013



The Honorable Arthur J. Boylan
Chief United States Magistrate Judge
United States Courthouse
Suite 9E
300 South Fourth Street
Minneapolis, MN 55415

RE:     United States v. Eric Wade Forcier
        Case No. 12-CR-295 (1) (PAM/AJB)

Dear Judge Boylan,

This writing is to inform the court that the defendant in the above-entitled
matter will not be filing pretrial motions. Additionally, Mr. Forcier would
waive his appearance for the scheduled pretrial motion hearing set for January
18th and requests to be excused.

Very truly yours,

S/S Kyle D. White
Kyle White, Attorney
332 Minnesota Street
Suite W-1710
St. Paul, MN 55101


cc: Allen Slaughter, Jr., AUSA
    Client
